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                          EXHIBIT “B”
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           1Behrouz Sbafie SBN I 08581
            Behrouz Shafie & Associates
          2 1575 Westwood Blvd., Ste 200                                  F 8 LED
                                                                  SUPERIOR COURT OF CALIFORNIA
            Los Angeles, CA 90024-5627                             COUNTY OF SAN BERNARDINO
          3 Phone Number: (310) 201-8470                            SAN BERNARDINO DISTRICT
            Fax Number: (310) 201-8472
          4 Email: bebrouzshafie@gmait.com                               FEB .22 2022
          5 Attorney for Plaintiff                                                QJ. . ��. .. ,_,,
            FRED CHAPARLI                                                    .,�
                                                                      µA,--At>/>



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                                         SUPERIOR COURT OF CALIFORNIA
          8
                                           COUNTY OF SAN BERNADINO
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          10
               FRED CHAPARLI
                                                         Bvfax
                                                          iASENUMBEiCIV SB            2 2 0 3 9 7?.
          11                                         �
                                                     �    UNLIMITED JURISDICTION
        . 12                Plaintiff,
                                                     )     COMPLAINT FOR DAMAGES
          l3
                     vs.                         ) 1. FOR DEPRNATION OF RIGHTS
          14                                .--) _ UNDERS!OLOR OF STATE_LAW._ _                   _ __
----
               COUNTY-OF-SAffBERNARDINO)-SAN , )   PURSUANT TO 42 U.S.C. §
          15   BERNARDlNO COUNTY SHERIF'S DEPT. )  1983-CRUEL AND UNUSUAL
               SHERIFF SHANNON D. DICUS, DR. HOGA) PUNISHMENT OF PRISONER BY
          16   and DOES l to 100 Inclusive,      ) PROVISION OF INADEQUATE
                                                 ) MEDICAL CARE
          17                                     ) 2. INTENTIONAL INFLICTION OF
                            Defendants.          ) EMOTIONAL DISTRESS;
          18   -------------                     ) 3. NEGLIGENCE;
                                                   4. MEDICAL NEGLIGENCE
          19                                       DEMAND FOR JURY TRIAL
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     Case 5:22-cv-01754-SHK Document 1-2 Filed 10/06/22 Page 17 of 28 Page ID #:23
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                 1    73.        Plaintiff repeats and realleges each and every aJlegatlon of paragraphs 1 through 60
                2                 above as though fully set forth herein.
                3     74.        6. On or about 10/1/2019, plaintiff entered the Medical Tank for the purpose of
                4                 asthma, infection in his sinuses and ears. At that time, defendants, and each of them,
                 5               undertook to provide plaintiff with such care and attendance as plaintiff might require
                 6                while he was a patient in the San Bernardino Jail Medical Ta.nit.
                 7     75.        On or about October 2019, while plaintiff was a patient in the San :Bernardino Jail
                 8                Medical Taruc, defendants, and each of them, negligently and carelessly failure to
                 9                adequately attend to plaintiff's safety, failed to keep the medical Tank clean and
               10                 sanitary and free form infections, failed to keep other infected in.mates form the
               11                 Plaintiff, failed to treat the plaintlff for bis infections to prevent his hearing loss, ,
                12                although defendants, and each of them, knew, or in the exercise of reasonable care for
                13                plaintifrs safety should have known, that plaintiff was likely to become infected while
    14
-----                -            held in the Jail medical Tank.__ .. ___________________ _
               15      76.        As a direct and legal result of the negligence of defendants, and each of them, plaintiff
               16                 carelessly failure to adequately attend to plaintiff's safety, failed to keep the medical
                17                Tank clean and sanitary and tree form infections, failed to keep other infected inmates
                18                fonn the Plaintiff, failed to treat the plaintiff fol' his infections to prevent his hearing
                19                loss,, although defendants, and each of them, knew, or in the exercise of reasonable
               20                 care for plaintiff's safety should have known, that plaintiff was likely to become
                21                infected while held in the Jail medical Tank and lost bis hearing and suffered the
                22                injuries hereinafter alleged.
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                  1     85.         On or about 8/6/2021, plaintiff presented to San BERNADINO County by delivering
                  2                 a claim to the clerk for the injuries, disability, losses, and damages suffered and
                  3                 incurred by him by reason of the above--descrlbed occurrence, all in compliance with
                  4                 the requirements of Section 905 of the Government Code. A eopy of the claim is
                  5                 attached hereto as E.mibit 1 and made a part hereof.
                  6      86.        On or about September 3, 2021, San Bernardino County rejected the claim in its
                  7                 entirety or allowed the claim in the amoa.nt of $2,010,000.00 and rejected it as to the
                  8                 remainder or failed to act on the claim withln the period of 45 days after its
                  9                 presentation, and the claim was thus deemed rejected, under the provisions of Section
                 10                 91.Z.4 of the Government Code, at the expiration of the 45-day period, to wit, on

                 11                 9/21/2021,
                 12      87.        Plaintiff gave notice to defendant on 8/6/2021, ofintention to commence this action. A
                 13                 copy of the notice is attached hereto as Exhibit 1 and made a part hereof.

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         14
      --------                                 ----------             --------------- -- ----- - --- -
                 15      WHEREFORE, plaintiff prays judgment against all Defendants:
                 16 1. Compensation for both economic and non economic damages suffered and to be suffered;
                 17      2. Medical, legal and other expenses incurred by Plaintiff;
                 18 3. Future medical �penses.
                 19      4, Compensatory dam.ages caused by deprivation of Plaintiff's constitutional rights;

                 20 5.Lost wages to date of $144,000.00
                 21      6. Lost Future wages and earning capacity of $3,840,000.00
                 22      1. Litigation costs;
                 23      8. Attorneys' fees, as allowed by statute;
                 24 9• .Prejudgment Interest;
                 25      10. Civil Penalties as allowed by law.
                 26      11. Punitive damages (against the non�municipal Defendants only);
                 27      12. Any other relief or damages allowed by law, or statutes not set out above, and such further
                 28

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                                                       CLAIM AGAINST COUNTY OF SAN BERNARDINO
                                              (CLkfM FORM 1>1usr BE FJHE.o OUT PROPERLY OR CLAIM W1U S! RETVRNEI> WITHOUT FIUNG)

                    DATE:            07126/2021

                    Claim is hereby made against the treasury of the County of San Bernardino, State of California, as follows:

                    • Less than $10,000 -state the tot�I amount claimed$ $2,020,000.00
                    • More than $10,000 - Check one of the boxes:
                       0 Municipal Court Jucisdlctlon ($10,000 � $25,000) � Superior Court Jurisdiction ($25,001 and up)
                    Claimant makes the folloWlng statements In support of the claim:
                    1, Name of Claimant FRED                                      CHAPARLI
                                                               First              Middle               Last       (Aroa Code and Phon9 No,)

                    2.      Address of Claimant: 11740 WILSHIRE BLVD.,A-2401,                   LOS ANGELgs                 CA90025
                                                                Slroet                          City                          Zlp Coda

                     3.     Notices concerning claim should be sent to:
                             BEHROUZ SHAFIE ESQ, 1576 WESTWOOD BLVD. STE 200, LA CA 90024
                            Name                               Address         Zip Code                            (A/'89 Cod9 anct Phone No.)

                     4.     Circumstances giving rise to claim are as follows: _______________ __
         .CLAIMANI INAS INCARCERATED-IN $At)! BERNAIDNO IAII FROM jQ/17{19TO 5(20/20-
 - -- _ � Dudng.his-jncarceration.-he-was-Iodge<fln t6e Medical tank exposed to ma□:£ d!seaseq,people and
          unsanita conditions and contracted a bacteria that deslro ed his hearin 100% in the right ear
          and 70% n his left ear

                     5.      Date, Time and Place (city, street, cross-street) damage occurred and nature thereof:.______
                              diagnosed on 5/11/2021, injury ocurred In jall



                     6,      Public property and/or public officers or employees causing Injury, damage or loss:
                               San Bemdin'o couoty Sberi(rs depl locarcerated blro


                     7.      Name, address and telephone number of witnesses:. _________________
                             Howard Schneider, public defender Medical staff at jail
                     ·a.     Basis of computation of claimed amount ls as follows:
                              Medical expenses to date _$'\_o_,o_o_o._____         o
                                                                                   o   _        Lossweges
                              Estimated future medical expenses $10 ooo oo                      General damages -"-'-==.....---­
                              Other expensos                                                    Property damage"d'--::---:,,--<::;_...----
                              Other damages ..,.$:...
                                                  2,..,.,0.,.,
                                                          QQ"",0...,0,...Q...,.
                                                                           ,O...o_______



                     RETURN COMPLETED FORM TO:
                     Risk Management Division - County of San Bernardino, stete of California                          Office: (909) 366-8531
                     222 W. Hospitality Lane, 3rd Floor                                                                Fax:    (909) 382-3212
                     San Bemal'dino, CA 9i.415-0016
                                                                                                                                         Q7-838H8G
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                                                                                              222 West Hospitality Lane. Third Floor, San Bernardino, CA 92416




                                                                  Department of                                                          Victor lordeslllas
                                                                                                                                         Interim Director
                                                                  Risk Management                                                         Phone Number
                                                                                                                                         9D9.386.8655

                                                                                                                                         Fax Numbers
            September 3, 2021                                                                                                            Admln/Fisoal: 909.382.3211
                                                                                                                                         Workers Comp: 008.386.8711
                                                                                                                                         Liability:    909.382.3211
                                                                                                                                          Safety:       gos.362.3212
            Fred Chaparli
            c/o Law Offices of Behrouz Shafle & Assoc.
            1575 Westwood Blvd., #200
            Los Angeles, CA 9002:4


            RE:         Claimant. ............... Fred Chaparli
                        Date of Loss ............ 05/11/2021
                        Amount of Claim ...... Undetermined
                        Our File.................. 137823



             Notice Is hereby_glyeo_that. the_claim_which-you-presented-to-ths-County-of-San- - --­
             Bemardlno on 7/30/2021 was rejected on 9/3/2021.

                                                                       WARNING
             Subject to certain exceptions, you have only six (6) .months from the date this notice
             was personally delivered or deposited in the mail to file a court action on this claim.
             See Government Code Section 945.6.

             You may seek the advice of an attorney of your choice in connection with this matter. If
             you desire to consult an attorney, you should do so Immediately..



              -id�-�-�-·�:
             Michael R Lee
             Llablllty Claims Rep 111
             DEPARTMENT OF RISK MANAGEMENT
             (909) 386-8646




BOARD 017 SUPERVISO"RS
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